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9    JAMES SHAYLER
10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12

13
     JAMES SHAYLER,                               Case No.:
14

15
                  Plaintiff,
                                            COMPLAINT FOR VIOLATIONS
16   vs.                                    OF: AMERICAN’S WITH
17                                          DISABILITIES ACT OF 1990, 42
     BARBARA MIZRAHI, Trustee Of The U.S.C. § 12181 ET SEQ.; UNRUH
18   Barbara Mizrahi Revocable Living Trust CIVIL RIGHTS ACT,
19   Dated January 3, 2001 as Amended       CALIFORNIA CIVIL CODE § 51
     September 6, 2012; and Does 1-10,      ET SEQ.
20

21
                 Defendants.

22

23

24
           Plaintiff James Shayler (hereinafter referred to as “Plaintiff”), complains of
25

26
     Barbara Mizrahi, Trustee Of The Barbara Mizrahi Revocable Living Trust Dated

27   January 3, 2001 as Amended September 6, 2012, and Does 1-10 (each, individually
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    a “Defendant” and collectively “Defendants”) and alleges as follows:
2
                                       I.     PARTIES
3
           1.     Plaintiff is a California resident with physical disabilities. Plaintiff has
4
     undergone two knee replacement surgeries and suffers from an acute pinched
5
     sciatic nerve as well as arthritis. He has difficulty walking and standing. Plaintiff
6

7
     also has limited range of movement in his legs. Plaintiff is mobility impaired and

8    uses a walker as needed. Plaintiff is qualified as being disabled pursuant to 42 USC
9    Section 12102(2)(A), the California Unruh Civil Rights Act, Sections 51, et seq.
10   and 52, et seq., and other statutory laws which protect the rights of “disabled
11
     persons”. Plaintiff has been issued a blue permanent disability Disabled Person
12
     Parking Placard by the State of California.
13
           2.     Defendants owned the property (“Property”) located at 5620 Sawtelle
14
     Boulevard, Culver City, California 90230, at all relevant times.
15

16
           3.     There are two business establishments on the Property including a

17   dental office known as “West LA Dental (hereinafter “dental office”) and a frozen
18   yogurt shop known as “Menchies Frozen Yogurt” (hereinafter “Menchies”).
19         4.     DOES 1 through 10 were at all relevant times lessors, lessees,
20   property owners, subsidiaries, parent companies, employers, employees, agents,
21
     corporate officers, managers, principles and/or representatives of Defendants.
22
     Plaintiff is unaware of the true names and capacities of Defendants sued herein, as
23
     DOES 1 through 10, inclusive, and therefore, sues those Defendants by fictitious
24
     names. Plaintiff requests that the Court grant leave to amend this complaint to
25

26   allege the true names and capacities when determined by whatever source.
27         5.     Plaintiff alleges that Defendants at all times have been and are
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    relevant to this cause of action, the owners, franchisees, lessees, general partners,
2
     limited partners, agents, employees, employers, represent partners, subsidiaries,
3
     partner companies, and/or joint ventures of the remaining Defendants and were
4
     acting within the course and scope of that relationship. Plaintiff is further informed
5
     and believes and alleges that each of the Defendants gave consent to, ratified,
6

7
     and/or authorized the acts alleged of each of the remaining defendants.

8           6.     Plaintiff visited the public accommodations owned and operated by
9    Defendants with the intent to purchase and/or use the goods, services, facilities,
10   privileges, advantages or accommodations operated and/or owned by Defendants.
11
                             II.    JURISDICTION & VENUE
12
            7.     This Court has subject matter jurisdiction over this action pursuant to
13
     28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the American with
14
     Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
15

16
            8.     Pursuant to supplemental jurisdiction, an attendant and related cause

17   of action, arising from the same nucleus of operative facts and arising out of the
18   same transactions, is also brought under California’s Unruh Civil Rights Act,
19   which act expressly incorporates the ADA.
20          9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
21
     founded on the fact that the real property which is the subject of this action is
22
     located in this district and that Plaintiffs cause of action arose in this district.
23
                                         III.   FACTS
24
            10.    The Property owned by Defendants is a facility which is open to the
25

26   public and is a business establishment.
27          11.    Plaintiff alleges that the Property has been newly constructed and/or
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    underwent remodeling, repairs, or alterations since 1992, and that Defendants have
2
     failed to comply with California access standards which applied at the time of each
3
     new construction and/or alteration or failed to maintain accessible features in
4
     operable working condition.
5
           12.    Plaintiff visited the Property during the relevant statutory period on
6

7
     two (2) separate occasions including in January 2019 and February 2019 to visit

8    the yogurt shop to eat and get dental treatment at the dentist.
9          13.    Defendants did not offer persons with disabilities with equivalent
10   facilities, privileges and advantages offered by Defendants to other patrons.
11
           14.    Plaintiff encountered barriers (both physical and intangible) that
12
     interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
13
     services, privileges and accommodations offered at the Property.
14
           15.    Parking for patrons visiting the Property are among the facilities,
15

16
     privileges, and advantages offered by Defendants to patrons of the Property.

17         16.    However, there is no accessible parking for disabled persons. None of
18   the parking spaces designated for disabled persons comply with the Americans
19   with Disabilities Act (“ADA”).
20         17.    The parking area does not comply with the latest California Building
21
     Codes (“2010 CBC Code”).
22
           18.    Parking are one of the facilities, privileges, and advantages offered by
23
     Defendants to patrons of the Property.
24
           19.    When Plaintiff visited the Property, he experienced access barriers
25

26   related to parking and the paths of travel to the entrances.
27         20.    There are no signs posted at either of the off-street entrances to the
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    parking lot which provide information about unauthorized parking in disabled
2
     spaces. 2010 CBC Code 1129B.4.
3
              21.   The Menchies parking area does not have any disabled parking: none.
4
     There was no designated disabled parking spaces located at the Property for
5
     Menchies customers. All the parking spaces where Menchies customers are
6

7
     allowed park have a wall sign posted above them, but none are disabled designated

8    spaces. Not one single space. 2010 CBC Section 1129B.1; ADA 1991 Code § 4.6;
9    ADA 2010 Code § 208.1.
10            22.   The Property has only one designated disabled parking space, but it is
11
     too short to be compliant. The sole designated disabled parking space on the
12
     property measures less than 18 feet long. 2010 CBC Code 1129B.3; ADA 2010 §
13
     502.2. It is also too narrow to be compliant. The parking spaces reserved for
14
     disabled persons measured less than 9 feet wide. 2010 CBC Code 1129B.3; ADA
15

16
     2010 section 502.2. This makes it difficult for Plaintiff to park in the designated

17   space.
18            23.   There are no signs posted at either of the off-street entrances to the
19   parking lot which provide information about unauthorized parking in disabled
20   spaces. 2010 CBC Code 1129B.4.
21
              24.   There are no signs at the disabled designated parking space identified
22
     by the International Symbol of Accessibility. 2010 CBC Section 1129B.4; ADA
23
     1991 Code § 4.6.4; ADA 2010 Code § 502.6.
24
              25.   There are no signs regarding a minimum $250 fine for unauthorized
25

26   parking in disabled parking spaces posted at any of the spaces. 2010 CBC Code
27   1129B.4.
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1          26.    The paint used for the designated disabled parking space was faded
2
     and cannot be seen.
3
           27.    The parking space’s adjacent access aisle did not say “No Parking” as
4
     required 2010 CBC 1129B.3.1.
5
           28.    An accessible route of travel should be provided to the building
6

7
     entrance. 2010 CBC Code 1114B.1.2; ADA 1991 § 4.3.2. However, there is no

8    accessible route of travel to the dental office or the yogurt shop. There is no
9    marked path of travel from the only one designated disabled parking space on the
10   Property to the entrances of the businesses. At least one accessible route must
11
     connect facility entrances with all accessible elements on the same site. 2010 CBC
12
     Section 1129B.3.3; ADA 1991 Code § 4.6.2. There is none.
13
           29.    There is no marked path of travel from the designated disabled
14
     parking space on the Property to the dental office or yogurt shop. There is no
15

16
     directional signage showing an accessible path of travel. 2010 CBC Code Section

17   1117B.5.1.2; ADA 2010 § 216.3. Plaintiff is forced to travel behind parked cars in
18   order to reach the yogurt shop.
19         30.    Plaintiff personally encountered these barriers.
20         31.    These inaccessible conditions denied Plaintiff full and equal access
21
     and caused difficulty, humiliation and frustration.
22
           32.    The barriers existed during each of Plaintiff’s visits in 2019.
23
           33.    Plaintiff alleges that Defendants knew that the architectural barriers
24
     prevented access. Plaintiff will prove that Defendants had actual knowledge that
25

26   the architectural barriers prevented access and that the noncompliance with the
27   ADAAG and Title 24 of the California Building Code regarding accessible features
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    was intentional.
2
            34.    Plaintiff intends to return to Defendants public accommodation
3
     facilities in the near future. Plaintiff is currently deterred from returning because
4
     of the knowledge of barriers to equal access that continue to exist at Defendants’
5
     facilities that relate to Plaintiff’s disabilities.
6

7
            35.    Defendant has failed to maintain in working and useable conditions

8    those features necessary to provide ready access to persons with disabilities.
9           36.    Defendants have the financial resources to remove these barriers
10   without much expense or difficulty in order to make their Property more accessible
11
     to their mobility impaired customers. These barriers are readily achievable to
12
     remove. The United States Department of Justice has identified that these types of
13
     barriers are readily achievable to remove.
14
            37.    To date, Defendants refuse to remove these barriers.
15

16
            38.    On information and belief, the Plaintiff alleges that the Defendants’

17   failure to remove these barriers was intentional because the barriers are logical and
18   obvious. During all relevant times Defendants had authority, control and dominion
19   over these conditions and therefore the absence of accessible facilities was not a
20   mishap but rather an intentional act.
21
            39.    These barriers to access are described herein without prejudice to
22
     Plaintiff citing addition barriers to access after inspection by plaintiff’s access
23
     agents, pursuant to Doran v 7-ELEVEN, Inc. 524 F3d 1034 (9th Cir. 2008) (holding
24
     once a plaintiff encounters one barrier at a site, a plaintiff can sue to have all
25

26   barriers that relate to their disability removed regardless of whether they personally
27   encountered them).
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1      IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
2       WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
3                                  (Against All Defendants)
4
            40.   Plaintiff alleges and incorporates by reference each and every
5
     allegation contained in all prior paragraphs of this complaint.
6

7
            41.   Title III of the ADA prohibits discrimination against any person on

8    the basis of disability in the full and equal enjoyment of the goods, services,
9    facilities, privileges, advantages, or accommodations of any place of public
10   accommodation by any person who owns, leases or leases to, operates a place of
11   public accommodation. U.S.C. § 12182(a).
12
            42.   Defendants discriminated against Plaintiff by denying “full and equal
13
     enjoyment” and use of the goods, services, facilities, privileges or accommodations
14
     of Defendant’s facility during each visit and each incident of deterred visit.
15
            43.   The acts and omissions of Defendants herein are in violation of
16

17   Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et
18   seq.
19          44.    Pursuant to the ADA, discrimination is a “failure to make reasonable
20   modifications in policies, practices or procedures, when such modifications are
21
     necessary to afford goods, services, facilities, privileged, advantages or
22
     accommodation to individuals with disabilities, unless the entity can demonstrate
23
     that making such modifications would fundamentally alter the nature of such
24
     goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C.
25

26
     § 12182(b)(2)(A)(ii).

27          45.   The ADA prohibits failing to remove structural architectural barriers
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    in existing facilities where such removal is readily achievable. 42 U.S.C. §
2
     12182(b)(2)(A)(iv). The term “readily achievable” is defined as “easily
3
     accomplishable and able to be carried out without much difficulty or expense.” Id.
4
     § 12181(9). Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,
5
     Part 36.
6

7
           46.     In the event removal of any barrier is shown to not be readily

8    achievable, a failure to make goods, services, facilities, or accommodations
9    available through alternative methods is also prohibited if these methods are
10   readily achievable. Id. § 12182(b)(2)(A)(v).
11
           47.     Plaintiff alleges that Defendants can easily remove the architectural
12
     barriers at their facility without much difficulty or expense, and that Defendants
13
     violated the ADA by failing to remove those barriers because it was readily
14
     achievable to do so. Defendants can afford such costs given they are a fraction of
15

16
     what the Defendants takes in rental profits for such a large and expensive property.

17         48.     In the alternative, if it was not “readily achievable” for Defendants to
18   remove the facilities barriers, the Defendants violated the ADA by failing to make
19   the required services available through alternative methods, which are readily
20   achievable.
21
           49.     On information and belief, the facility was modified after January 26,
22
     1992, mandating access requirements under the ADA.
23
           50.     The ADA requires that facilities altered in a manner that affects or
24
     could affect its usability must be made readily accessible to individuals with
25

26   disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
27         51.     Plaintiff alleges that Defendants altered the facility in a manner that
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1     violated the ADA and was not readily accessible to physically disabled persons,
2
      including Plaintiff, to the maximum extent feasible.
3
            52.    The ADA also requires reasonable modification in policies, practices,
4
      or procedures when necessary to afford such goods, services, facilities, or
5
      accommodations to individuals with disabilities, unless the entity can demonstrate
6

7
      that making such modifications would fundamentally alter their nature. 42 U.S.C.

8     § 12182(b)(2)(A)(ii).
9           53.    Plaintiff alleges that Defendants violated the ADA by failing to make
10    reasonable modifications in policies, practices, or procedures at the facility when
11
      these modifications were necessary to afford (and would not fundamentally alter
12
      the nature of) these goods, services, facilities, or accommodations.
13
            54.    Plaintiff seeks a finding from this Court that Defendants violated the
14
      ADA in order to pursue damages under California’s Unruh Civil Rights Act for
15

16
      Disable Persons Act.

17          55.    Here the Defendants’ failure to make sure that accessible facilities
18    were available and ready to be used by the Plaintiff is a violation of law.
19          56.    Plaintiff would like to continue to frequent Defendants’ facility, but
20    Plaintiff has been discriminated against and continues to be discriminated against
21
      because of the lack of accessible features.
22
            57.    Among the remedies sought, Plaintiff seeks an injunction order
23
      requiring compliance with the state and federal access laws for all the access
24
      violations that exist at the Property.
25

26    //
27    //
28    COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1       V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
2                         (Cal. Civ. Code § 51-53.)
3                                   (Against All Defendants)
4
             58.    Plaintiff repleads and incorporates by reference, as fully set forth
5
      again herein, the allegations contained in all prior paragraphs of this complaint.
6

7
             59.    California Civil Code § 51 states, in part: All persons within the

8     jurisdictions of this state are entitled to the full and equal accommodations,
9     advantages, facilities, privileges, or services in all business establishments of every
10    kind whatsoever.
11           60.    California Civil Code § 51 also states, in part: No business
12
      establishment of any kind whatsoever shall discriminate against any person in this
13
      state because of the disability of the person.
14
             61.    California Civil Code § 51(f) specifically incorporates (by reference)
15
      an individual’s rights under the ADA into the Unruh Act.
16

17           62.    The Unruh Act also provides that a violation of the ADA, or
18    California state accessibility regulations, is a violation of the Unruh Act. Cal Civ.
19    Code, § 51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439
20    (N.D.Cal.1994).
21
             63.    Defendants’ above-mentioned acts and omissions have violated the
22
      Unruh Act by denying Plaintiff rights to full and equal use of the accommodations,
23
      advantages, facilities, privileges and services they offer, on the basis of Plaintiff’s
24
      disability.
25

26
             64.    Defendants’ above-mentioned acts and omissions have also violated

27    the Unruh Act by denying Plaintiff rights to equal access pursuant to the ADA and
28    COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1     are liable for damages. (Civ. Code § 51(f), 52(a)).
2
              65.      Because violation of the Unruh Civil Rights Act resulted in difficulty,
3
      discomfort or embarrassment for the Plaintiff, the Defendants are also each
4
      responsible for statutory damages, such as a civil penalty. (Civ. Code § 55.56(a)-
5
      (c)).
6

7
              66.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks

8     statutory minimum damages of four thousand dollars ($4,000) for each offense.
9                                     PRAYER FOR RELIEF
10                     WHEREFORE, Plaintiff prays judgment against Defendants, as
11
      follows:
12
              1. For injunctive relief, compelling Defendants to comply with the
13
                    Americans for Disabilities Act and the Unruh Civil Rights Act. Note:
14
                    Plaintiff is not invoking section 55 of the California Civil Code and is
15

16
                    not seeking injunctive relief under the Disabled Person Acts.

17            2. Damages under the Unruh Civil Rights Act which provides for actual
18                  damages and a statutory minimum of $4,000 per each offense.
19            3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
20                  to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
21

22
       Dated: March 28, 2019                THE LAW OFFICE OF HAKIMI & SHAHRIARI
23

24

25

26                                          By: /s/Peter Shahriari
                                                Peter Shahriari, Esq.
27
                                                Attorneys for Plaintiff James Shayler
28    COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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28    COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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